                      Arrest Warrant
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                                        UNITED STA                        CT COURT
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          TINITED STATES OF AMERICA                        Ci,f,nl(i,l" Fri    ;u,liliiii'r
                      v,                                      )
                                                              )                 Case     No. 1084 l:94CR00741- 001JB
                          Lavonne Joe                         )
                           Delendant                          )


                                                  ARRESTWARRANT

To:      Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States Magistrate Judge without unnecessary
delay (name ofperson to be arrested) Lavonne Joe

Also Known As: Joe, LEvonne

who is accused of an offense or violation based on the following document filed with the court:

 E Indictrnent E      Superseding                    E Information n                  Superseding   Information          fl   Complaint
                  Indictment
 E   Probation Violation Petition        I   Supervised Release Violation             Petition E Violation                ll-Order of the




 Date:      4/12/21
                                                                                           Issuing Oficer's signatrfe


 City and   state:    Albuquerque, NM                                MITCHELL R. ELFERS, CLERK OF COURT
                                                                                              Printed name and title


                                                          Return

 This warrant was received on ( date       af afa.rt
                                             1              , and the person was arrested on ( date )
 at ( ciry and state  )
                     Albrso            *.o ,,+ Ntl
 ,^r",41,q/r.^rY                                                                                 esting   fficer's signanre




            This second page contains personal identiliers provided for law-enforcement use only
